In this cause Mr. Chief Justice Buford, Mr. Justice Whitfield and Mr. Justice Davis are of opinion that the judgment of the Circuit Court should be reversed, While Mr. Justice Ellis, Mr. Justice Terrell and Mr. Justice Brown are of opinion that the said judgment should be affirmed. When the members of the Supreme Court, sitting six members in a body and after full consultation, it appears that the members of the Court are permanently and equally divided in opinion as to whether the decree should be affirmed or reversed, and there is no prospect of an immediate change in the personnel of the Court, the decree should be affirmed; therefore it is considered, ordered and adjudged under the authority of State ex rel. Hampton v. *Page 1061 
McClung, 47 Fla. 224, 37 So. R. 51, that the decree of the Circuit Court in this cause be and the same is hereby affirmed.
Affirmed.
BUFORD, C.J., AND WHITFIELD, ELLIS, TERRELL, BROWN AND DAVIS, J.J., concur.